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AO 472 (Rev. 6/05) Order of Detention Pending Trial

                                                  United States District Court
                                                      Eastern District of Michigan

United States of America                                        ORDER OF DETENTION PENDING
                                                                PROBATION VIOLATION HEARING
      v.
Antoine Williams                             /                  Case Number: 07-30486
                  Defendant

         In accordance with the Bail Reform Act, 18 U.S.C. §3142(f), a detention hearing has been held. I conclude that the following
facts require the detention of the defendant pending trial in this case.

                                                        Part I – Findings of Fact
    T     (1) I find that:
                   T there is probable cause to believe that the defendant has committed an offense
                   “ for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 841 or 846;
                   T under 18 U.S.C. § 924(c).

   T     (2) I further find that the defendant has not rebutted the presumption established by finding that no condition or combination
of conditions will reasonably assure the appearance of the defendant as required and the safety of the community.

                                                         Alternative Findings
          “ I find that the government has established by a preponderance of the evidence that there is a serious risk that the defendant
will not appear.

         T I find that the government has established by clear and convincing evidence that there is a serious risk that the defendant
will endanger the safety of another person or the community.

                                         Part II – Written Statement of Reasons for Detention
         T I find that the credible testimony and information submitted at the hearing established the following factors under 18
U.S.C. § 3142(g):
                  T (a) nature of the offense - Assault on a federal agent (firearm involved).
                  T (b) weight of the evidence - Very strong evidence.
                  “ (c) history and characteristics of the defendant -
                            “1) physical and mental condition -
                            “ 2) employment, financial, family ties -
                            “ 3) criminal history and record of appearance -
                  “ (d) probation, parole or bond at time of the alleged offense -
                  T (e) danger to another person or community -

          This defendant participated in a plan to rob an undercover federal agent and actively participated in implementing the plan.
          He kicked and beat the agent, who was attempting to prevent a co-conspirator from employing a firearm. The incident
          resulted in a shot being fired, thus endangering all in the immediate vicinity. This defendant is dangerous. Pretrial
          recommends detention, and I agree.


                                                Part III – Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a
corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of
the United States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the
defendant to the United States Marshal for the purpose of an appearance in connection with a court proceeding.

                                                                s/Donald A. Scheer
Date: October 26, 2007                                                           Signature of Judge
                                                                Donald A. Scheer, United States Magistrate Judge
                                                                             Name and Title of Judge
